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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

CIVIL ACTION NO.

LYDIA WALTER AND JOHN WALTER, JR.,
Plaintiff

V.

NICHOLAS ANDREW AND CAPITAL TRACTOR, INC.
Defendants

PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL
PARTIES

1. The Plaintiff, LYDIA WALTER, is a natural person residing at 148 Lee Trace Drive,
Smithfield, Johnson County, North Carolina.

2% The Plaintiff, JOHN WALTER, JR., is a natural person residing at 148 Lee Trace Drive,
Smithfield, Johnson County, North Carolina.

3% The Defendant, NICHOLAS ANDREW, is a natural person residing at 35 Van Ness
Avenue, Greenwich, Washington County, New York.

4. The Defendant, CAPITAL TRACTOR, INC., is a New York corporation having a usual
place of business at 1135 State Route 29, Washington County, New York.

COUNT I
Negligence — Lydia Walter v. Nicholas Andrew

5. On or about September 22, 2016, the Plaintiff, LYDIA WALTER, was a passenger in a
motor vehicle operating southbound on Route 91, in the city of Springfield, Hampden
County, Massachusetts.

6. On or about September 22, 2016, the Defendant, NICHOLAS ANDREW, was operating
a motor vehicle southbound on Route 91, in the City of Springfield, Hampden County,
Belchertown, Massachusetts.

7. On or about September 22, 2016, the Defendant, NICHOLAS ANDREW, negligently
and carelessly operated his motor vehicle, thereby striking the vehicle in which the
Plaintiff was a passenger.

8. As a direct and proximate result of the negligence of the Defendant, NICHOLAS
ANDREW; the Plaintiff has suffered great pain of body and mind, was disabled and
continues to suffer permanent physical injuries, has lost wages and income, has incurred
medical expenses in excess of $2,000.00, suffered loss of relations with her spouse and
suffered other miscellaneous financial injury.
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WHEREFORE, the Plaintiff, LYDIA WALTER, demands judgment against the Defendant,
NICHOLAS ANDREW, for an award of damages in an amount considered by this Honorable
Court to be fair and just, along with interest and costs of suit.

COUNT II
Negligence/Agency — Lydia Walter v. Capital Tractor, Inc.

9. The Plaintiff repeats, realleges and incorporates by reference the allegations in
Paragraphs | through 8 as if specifically contained herein.

10. On September 22, 2016, the Defendant, CAPITAL TRACTOR, _INC.,
CONSTRUCTION INC. was the registered owner of the motor vehicle operated by the
Defendant, NICHOLAS ANDREW, which was involved in a collision with the Plaintiff,
LYDIA WALTER.

11. At the time of the collision between the Plaintiff, LYDIA WALTER, and the Defendant,
NICHOLAS ANDREW;; the Defendant, NICHOLAS ANDREW, was operating a motor
vehicle under the control and ownership of the Defendant, CAPITAL TRACTOR, INC.

12. At the time of the collision between the Plaintiff, LYDIA WALTER, and the Defendant,
NICHOLAS ANDREW; the Defendant, NICHOLAS ANDREW, was operating
CAPITAL TRACTOR, INC.’S vehicle as the agent of the Defendant, CAPITAL
TRACTOR, INC. .

13. As a direct and proximate result of the negligence of the Defendant, NICHOLAS
ANDREW; the Plaintiff has suffered great pain of body and mind, was disabled and
continues to suffer permanent physical injuries, has lost wages and income, has incurred
medical expenses in excess of $2,000.00, suffered loss of relations with her spouse and
suffered other miscellaneous financial injury.

WHEREFORE, the Plaintiff, LYDIA WALTER, demands judgment against the Defendant,
CAPITAL TRACTOR, INC., for an award of damages in an amount considered by this
Honorable Court to be fair and just, along with interest and costs of suit.

COUNT Ill
Negligent Entrustment — Lydia Walter v. Capital Tractor, Inc.

14. The Plaintiff repeats, realleges and incorporates by reference the allegations in
Paragraphs 1 through 13 as if specifically contained herein.

15. The Defendant, CAPTIAL TRACTOR, INC., negligently entrusted its motor vehicle to
the Defendant, NICHOLAS ANDREW, all the while knowing or having reason to know
that he was likely to injure someone in the course of his operation of the motor vehicle.

16. As a direct and proximate result of the negligence of the Defendant, CAPITAL
TRACTOR, INC.; the Plaintiff has suffered great pain of body and mind, was disabled
and continues to suffer permanent physical injuries, has lost wages and income, has
incurred medical expenses in excess of $2,000.00, suffered loss of relations with her
spouse and suffered other miscellaneous financial injury.
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WHEREFORE, the Plaintiff, LYDIA WALTER, demands judgment against the Defendant,
CAPTIAL TRACTOR, INC., for an award of damages in an amount considered by this
Honorable Court to be fair and just, along with interest and costs of suit.

COUNT IV
(Loss of Consortium — John Walter, Jr. v. Nicholas Andrew)

17. The Plaintiff repeats, realleges and incorporates by reference the allegations in
Paragraphs | through 16 as if specifically contained herein.

18. The Plaintiff, JOHN WALTER, JR., is the spouse of the Plaintiff, LYDIA WALTER;
and as such is a person entitled by law to the care, comfort, services, and consortium of
the Plaintiff, LYDIA WALTER.

19. As a result of the negligence of the Defendant, NICHOLAS ANDREW; the Plaintiff,
JOHN WALTER, JR., sustained the loss of the care, comfort, services, and consortium
of her spouse, the Plaintiff, LYDIA WALTER.

WHEREFORE, the Plaintiff, JOHN WALTER, JR., demands judgment against the Defendant,
NICHOLAS ANDREW, for an award of damages in an amount considered by this Honorable
Court to be fair and just, along with interest and costs of suit.

COUNT V
(Loss of Consortium — John Walter, Jr. v. Capital Tractor, Inc.)

20. The Plaintiff repeats, realleges and incorporates by reference the allegations in
Paragraphs 1 through 19 as if specifically contained herein.

21. The Plaintiff, JOHN WALTER, JR., is the spouse of the Plaintiff, LYDIA WALTER;
and as such is a person entitled by law to the care, comfort, services, and consortium of
the Plaintiff, LYDIA WALTER.

22. As a result of the negligent agency and entrustment of the Defendant, CAPITAL
TRACTOR, INC., the Plaintiff, JOHN WALTER, JR., sustained the loss of the care,
comfort, services, and consortium of her spouse, the Plaintiff, LYDIA WALTER.

WHEREFORE, the Plaintiff, JOHN WALTER, JR., demands judgment against the Defendant,
NICHOLAS ANDREW, for an award of damages in an amount considered by this Honorable
Court to be fair and just, along with interest and costs of suit.
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PLAINTIFFS RESPECTFULLY DEMAND THAT ALL ISSUES OF FACT BE TRIED

BEFORE A JURY.

By:

THE PLAINTIFFS,
LYDIA WALTER AND JOHN WALTER, JR.

Wf

MichaellJ. CMernick, Esquire
One Monarch Place

1414 Main Street

Suite 1100

Springfield, MA 01144
(413) 733-1312

(413) 733-2624 - fax

BBO No. 543616
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HS Sa) (Rexi0Gi) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and sérvice of pleadings or other papers as required by law, except as
provided by local rules. of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

: INTIFF FE NTS .
1 (A, Vout er au OS Walter, Jr. NORE ENP ANT and Capital Tractor, Inc.
(b) County of Residence of First Listed Plaintiff Johnson County,NC County of Residence of First Listed Defendant _Washington County, NY
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,

(c) Attomeys (Firm Name, Address, and Telephone Number) Attorneys (if Known)
Michael J. Chernick, Esq.
One Monarch PI., 1414 Main St., Ste. 1100, Springfield, MA 01144
413-733-1312

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

II. BASIS OF JURISDICTION (Place an “X" in One Box Only) I. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X° in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O 1 U.S. Government 0 3. Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State ai 1 Incorporated or Principal Place qgo4 04
of Business In This State
0 2 US. Government A4 Diversity Citizen of Another State (K2  & 2 Incorporated and Principal Place O05 a5
Defendant (Indicate Citizenship of Parties in Item HI) of Business [n Another State
Citizen or Subject of a a 3 O 3. Foreign Nation O06 06
Foreign Country
IV. NATURE OF SUIT (lace an “x” in One Box Only) _ Click here for: Nature of Suit Code Descriptions,
L CONTRACT TORTS FORMTTUREPENALTY [BANKRUPTCY | OTHER STATUTES —]
O 110 Insurance PERSONAL INJURY PERSONAL INJURY = [0 625 Drug Related Seizure C1 422 Appeal 28 USC 158 C1 375 False Claims Act
0 120 Marine 310 Airplane O 365 Personal Injury - of Property 21 USC 881 |0 423 Withdrawal 1 376 Qui Tam (31 USC
© 130 Miller Act © 315 Airplane Product Product Liability 0 690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability 0 367 Health Care/ 0 400 State Reapportionment
C1 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical |_PROPERTY RIGHIS _| 0 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 0 820 Copyrights © 430 Banks and Banking
C1 151 Medicare Act C1 330 Federal Employers’ Product Liability 0 830 Patent 450 Commerce
O 152 Recovery of Defaulted Liability C1 368 Asbestos Personal 0 835 Patent - Abbreviated CO 460 Deportation
Student Loans C340 Marine Injury Product New Drug Application |( 470 Racketeer Influenced and
(Excludes Veterans) 0 345 Marine Product Liability C1 840 Trademark Corrupt Organizations
(7 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY | 480 Consumer Credit
of Veteran’s Benefits &% 350 Motor Vehicle C 370 Other Fraud 0 710 Fair Labor Standards 1 861 HIA (1395ff) (1 490 Cable/Sat TV
0 160 Stockholders’ Suits 0 355 Motor Vehicle O 371 Truth in Lending Act © 862 Black Lung (923) C1 850 Securities/Commodities/
O 190 Other Contract Product Liability CG 380 Other Personal 1 720 Labor/Management 1 863 DIWC/DIWW (405(g)) Exchange
O 195 Contract Product Liability | 360 Other Personal Property Damage Relations 0 864 SSID Title XVI 890 Other Statutory Actions
C1 196 Franchise Injury 0 385 Property Damage O 740 Railway Labor Act 0 865 RSI (405(g)) © 891 Agricultural Acts
© 362 Personal Injury - Product Liability 0 751 Family and Medical C1 893 Environmental Matters
Medical Malpractice Leave Act 0 895 Freedom of Information
[ REAL PROPERTY CIVIL RIGHTS PRISONER PETIEIONS 0 790 Other Labor Litigation |[L FEDERAL TAN SUITS | Act
© 210 Land Condemnation © 440 Other Civil Rights Habeas Corpus: 1 791 Employee Retirement © 870 Taxes (U.S, Plaintiff 1 896 Arbitration
© 220 Foreclosure C8 441 Voting 463 Alien Detainee Income Security Act or Defendant) O 899 Administrative Procedure
230 Rent Lease & Ejectment 01 442 Emptoyment 0 510 Motions to Vacate O 871 IRS—Third Party Act/Review or Appeal of
© 240 Torts to Land 0 443 Housing/ Sentence 26 USC 7609 Agency Decision
© 245 Tort Product Liability Accommodations O 530 General (J 950 Constitutionality of
1 290 All Other Real Property 7 445 Amer, w/Disabilities -] 1 535 Death Penalty IMMIGRATION State Statutes
Employment Other: OF 462 Naturalization Application
O 446 Amer. w/Disabilities +] 540 Mandamus & Other | 465 Other Immigration
Other O 550 Civil Rights Actions
0 448 Education 0 555 Prison Condition
1 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an "X” in One Box Only)
1. Original 12 Removed from O 3 Remanded from O 4 Reinstatedor © 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -

(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

28 USC 1332
Brief description of cause:
Diversity of citizenship - personal injury - motor vehicle accident

VII. REQUESTED IN CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv,P. 1,500,000.00 JURY DEMAND: {Yes No

VII. RELATED CASE(S) /
IF ANY | g (See instructions): JUDGE

DATE TI | [! | Dee

FOR OFFICE USE ONLY *

VI. CAUSE OF ACTION

 

DOCKET NUMBER

 

 

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG, JUDGE
